                     Case 23-10961-BLS             Doc 455       Filed 10/06/23        Page 1 of 11




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

      In re:
                                                                Chapter 11
      WILLIAMS INDUSTRIAL SERVICES
      GROUP INC., et al., 1                                     Case No. 23-10961 (BLS)

                                                                (Jointly Administered)
                Debtors.

                    NOTICE OF AGENDA FOR THE HEARING SCHEDULED FOR
                            OCTOBER 11, 2023, AT 10:30 A.M. (ET) 2

            THE HEARING WILL BE CONDUCTED IN-PERSON AND BY ZOOM.
                 PARTICIPANTS APPEARING BY ZOOM ARE REQUIRED
        TO REGISTER NO LATER THAN OCTOBER 10, 2023, AT 4:00 P.M. (ET) PLEASE
             USE THE FOLLOWING LINK TO REGISTER FOR THE HEARING:

      https://debuscourts.zoomgov.com/meeting/register/vJIsdeqvqD8tEp1m9ERiQ7GXRC8IJlF1r3U

               AFTER REGISTERING, YOU WILL RECEIVE A CONFIRMATION EMAIL
                  CONTAINING INFORMATION ABOUT JOINING THE MEETING.
                 AUDIO FOR THE HEARING WILL BE PROVIDED BY ZOOM ONLY.

I.             REMAINING CURE OBJECTIONS IN CONNECTION WITH SALE

               1.     Motion for Entry of an Order (I) Approving Bidding Procedures for the Sale of
                      Assets, (II) Scheduling Hearings and Objection Deadlines with Respect to the
                      Debtors’ Authority to Sell, (III) Scheduling Bid Deadlines and an Auction, (IV)
                      Approving the Form and Manner of Notice Thereof, (V) Approving Contract
                      Assumption and Assignment Procedures, and (VI) Granting Related Relief [D.I.
                      33; 7/24/23].




  1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
     number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666),
     Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC
     (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925), Williams Global
     Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power Professional Services, Inc.
     (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG Electrical Ltd. (B.N. 2116). The
     location of the Debtors' corporate headquarters and service address is: 200 Ashford Center N, Suite 425, Atlanta, GA
     30338.
  2
   All motions and other pleadings referenced herein are available online at either of the following web addresses:
 https://dm.epiq11.com/WilliamsIndustrialServicesGroup or https://dm.epiq11.com/WISGRP.


  00060978.1
             Case 23-10961-BLS        Doc 455      Filed 10/06/23    Page 2 of 11




              Objection Deadline: September 5, 2023, at 5:00 p.m. (ET); extended through and
              including September 6, 2023, for Bechtel and extended through and including
              September 22, 2023, for Sunbelt Rentals, both in relation to cure objection amounts.

              Related Pleadings:

              A.     Order (I) Approving Bidding Procedures for the Sale of Debtors’ Assets,
                     (II) Scheduling Hearings and Objection Deadlines with Respect to the Sale,
                     (III) Scheduling Bid Deadlines and an Auction, (IV) Approving the Form
                     and Manner of Notice Thereof, (V) Approving Assumption and Assignment
                     Procedures for Executory Contracts and Unexpired Leases, (VI)
                     Authorizing and Approving the Debtors’ Entry into the Stalking Horse
                     APA, (VII) Authorizing and Approving Bid Protections, and (VIII)
                     Granting Related Relief [D.I. 196; 8/19/23].

              B.     Notice to Contract Parties to Potentially Assumed Executory Contracts and
                     Unexpired Leases [D.I. 203; 8/22/23].

              C.     Notice of Auction Cancellation and Designation of Successful Bidder [D.I.
                     231; 8/30/23].

              D.     Declaration of Steven E. Birchfield in Support of the Debtors’ Sale Motion
                     and EnergySolutions Nuclear Services, LLC’s Adequate Assurance of
                     Future Performance [D.I. 243; 8/31/23].

              E.     Second Notice to Contract Parties to Potentially Assumed Executory
                     Contracts and Unexpired Leases [D.I. 249; 9/1/23].

              F.     Notice of Successful Bidder’s Assumption and Assignment of Executory
                     Contracts and Unexpired Leases [D.I. 289; 9/5/23].

              G.     Amended Notice of Successfully Bidder’s Assumption and Assignment of
                     Executory Contracts and Unexpired Leases [D.I. 300; 9/7/23].

              H.     Order (A) Approving the Sale of Assets Free and Clear of All Claims, Liens,
                     Rights, Interests, and Encumbrances, (B) Authorizing the Debtors to
                     Perform Their Obligations Under the Purchase Agreement and Other
                     Transaction Documents, (C) Authorizing and Approving the Assumption
                     and Assignment of Certain Executory Contracts and Unexpired Leases
                     Related Thereto, and (D) Granting Related Relief [D.I. 309; 9/7/23].

              I.     Notice of Filing of (I) Amended Exhibit 2 to the Order Approving the Sale
                     of Assets Free and Clear of All Claims, Liens, Rights, Interests, and
                     Encumbrances, (B) Authorizing the Debtors to Perform Their Obligations
                     Under the Purchase Agreement and Other Transaction Documents, (C)
                     Authorizing and Approving the Assumption and Assignment of Certain


00060978.1                                     2
                Case 23-10961-BLS        Doc 455       Filed 10/06/23    Page 3 of 11




                        Executory Contracts and Unexpired Leases Related Thereto, and (D)
                        Granting Related Relief and (II) Black-Line of Same [D.I. 315; 9/11/23].

                 J.     Third Notice to Contract Parties to Potentially Assumed Executory
                        Contracts and Unexpired Leases [D.I. 332; 9/15/23].

                 K.     Notice of Closing of Sale [D.I. 367; 9/19/23].

                 Remaining Cure Objection Received:

                 A.     Objection of the Consolidated Edison Company of New York, Inc. to
                        Notice to Contract Counterparties to Potentially Assumed Executory
                        Contracts and Unexpired Leases [D.I. 257; 9/1/23]

                 B.     Response by Southern Nuclear Operating Company to Debtor’s Notice to
                        Contract Parties to Potentially Assumed Executory Contracts and
                        Unexpired Leases [D.I. 263; 9/1/23].

                 C.     Oracle America Inc.’s Limited Objection to and Reservation of Rights
                        Regarding Third Notice to Contract Counterparties to Potentially Assumed
                        Executory Contracts and Unexpired Leases [D.I. 391; 9/29/23].

                 D.     Informal comments received from Sunbelt Rentals.

                 Status: The informal comments of Sunbelt Rentals have been resolved. With
                 respect to all remaining responses, this matter has been adjourned to the hearing on
                 November 14, 2023 at 10:30 a.m. (ET).

II.        MATTERS UNDER CERTIFICATION

           2.    Debtors’ Second Omnibus Motion for Entry of an Order Authorizing the Debtors
                 to Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 345;
                 9/18/23].

                 Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                 Related Pleadings:

                 A.     Certificate of No Objection Regarding Debtors’ Second Omnibus Motion
                        for Entry of an Order Authorizing the Debtors to Reject Certain Executory
                        Contracts Effective as of the Rejection Date [D.I. 435; 10/5/23].

                 Objections Received: None.

                 Status: A certificate of no objection has been filed.



  00060978.1                                       3
              Case 23-10961-BLS        Doc 455       Filed 10/06/23    Page 4 of 11




         3.    Debtors’ Third Omnibus Motion for Entry of an Order Authorizing the Debtors to
               Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 346;
               9/18/23].

               Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

               Related Pleadings:

               A.     Certificate of No Objection Regarding Debtors’ Third Omnibus Motion for
                      Entry of an Order Authorizing the Debtors to Reject Certain Executory
                      Contracts Effective as of the Rejection Date [D.I. 436; 10/5/23].

               Objections Received: None.

               Status: A certificate of no objection has been filed.

         4.    Debtors’ Fourth Omnibus Motion for Entry of an Order Authorizing the Debtors to
               Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 347;
               9/18/23].

               Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

               Related Pleadings:

               A.     Certificate of No Objection Regarding Debtors’ Fourth Omnibus Motion
                      for Entry of an Order Authorizing the Debtors to Reject Certain Executory
                      Contracts Effective as of the Rejection Date [D.I. 437; 10/5/23].

               Objections Received: None.

               Status: A certificate of no objection has been filed.

         5.    Debtors’ Fifth Omnibus Motion for Entry of an Order Authorizing the Debtors to
               Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 348;
               9/18/23].

               Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

               Related Pleadings:

               A.     Certificate of No Objection Regarding Debtors’ Fifth Omnibus Motion for
                      Entry of an Order Authorizing the Debtors to Reject Certain Executory
                      Contracts Effective as of the Rejection Date [D.I. 438; 10/5/23].

               Objections Received: None.

               Status: A certificate of no objection has been filed.

00060978.1                                       4
              Case 23-10961-BLS        Doc 455       Filed 10/06/23    Page 5 of 11




         6.    Debtors’ Sixth Omnibus Motion for Entry of an Order Authorizing the Debtors to
               Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 349;
               9/18/23].

               Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

               Related Pleadings:

               A.     Certificate of No Objection Regarding Debtors’ Sixth Omnibus Motion for
                      Entry of an Order Authorizing the Debtors to Reject Certain Executory
                      Contracts Effective as of the Rejection Date [D.I. 439; 10/5/23].

               Objections Received: None.

               Status: A certificate of no objection has been filed.

         7.    Debtors’ Seventh Omnibus Motion for Entry of an Order Authorizing the Debtors
               to Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 350;
               9/18/23].

               Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

               Related Pleadings:

               A.     Certificate of No Objection Regarding Debtors’ Seventh Omnibus Motion
                      for Entry of an Order Authorizing the Debtors to Reject Certain Executory
                      Contracts Effective as of the Rejection Date [D.I. 440; 10/5/23].

               Objections Received: None.

               Status: A certificate of no objection has been filed.

         8.    Debtors’ Eighth Omnibus Motion for Entry of an Order Authorizing the Debtors to
               Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 351;
               9/18/23].

               Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

               Related Pleadings:

               A.     Certificate of No Objection Regarding Debtors’ Eighth Omnibus Motion
                      for Entry of an Order Authorizing the Debtors to Reject Certain Executory
                      Contracts Effective as of the Rejection Date [D.I. 441; 10/5/23].

               Objections Received: None.

               Status: A certificate of no objection has been filed.

00060978.1                                       5
               Case 23-10961-BLS        Doc 455       Filed 10/06/23    Page 6 of 11




         9.     Debtors’ Ninth Omnibus Motion for Entry of an Order Authorizing the Debtors to
                Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 352;
                9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Ninth Omnibus Motion for
                       Entry of an Order Authorizing the Debtors to Reject Certain Executory
                       Contracts Effective as of the Rejection Date [D.I. 442; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

         10.    Debtors’ Tenth Omnibus Motion for Entry of an Order Authorizing the Debtors to
                Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 353;
                9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Tenth Omnibus Motion for
                       Entry of an Order Authorizing the Debtors to Reject Certain Executory
                       Contracts Effective as of the Rejection Date [D.I. 443; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

         11.    Debtors’ Eleventh Omnibus Motion for Entry of an Order Authorizing the Debtors
                to Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 354;
                9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Eleventh Omnibus Motion
                       for Entry of an Order Authorizing the Debtors to Reject Certain Executory
                       Contracts Effective as of the Rejection Date [D.I. 444; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

00060978.1                                        6
               Case 23-10961-BLS        Doc 455       Filed 10/06/23    Page 7 of 11




         12.    Debtors’ Twelfth Omnibus Motion for Entry of an Order Authorizing the Debtors
                to Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 355;
                9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Twelfth Omnibus Motion
                       for Entry of an Order Authorizing the Debtors to Reject Certain Executory
                       Contracts Effective as of the Rejection Date [D.I. 445; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

         13.    Debtors’ Thirteenth Omnibus Motion for Entry of an Order Authorizing the
                Debtors to Reject Certain Executory Contracts Effective as of the Rejection Date
                [D.I. 356; 9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET), extended to October 6,
                2023 at 10:00 a.m. (ET) for McYam.

                Related Pleadings: None.

                Objections Received: Informal comments from McYam.

                Status: The Debtors intend to file a revised form of order under certification of
                counsel prior to the hearing resolving the informal comments from McYam.

         14.    Debtors’ Fourteenth Omnibus Motion for Entry of an Order Authorizing the
                Debtors to Reject Certain Executory Contracts Effective as of the Rejection Date
                [D.I. 357; 9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Fourteenth Omnibus
                       Motion for Entry of an Order Authorizing the Debtors to Reject Certain
                       Executory Contracts Effective as of the Rejection Date [D.I. 446; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.



00060978.1                                        7
               Case 23-10961-BLS        Doc 455       Filed 10/06/23    Page 8 of 11




         15.    Debtors’ Fifteenth Omnibus Motion for Entry of an Order Authorizing the Debtors
                to Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 358;
                9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Fifteenth Omnibus Motion
                       for Entry of an Order Authorizing the Debtors to Reject Certain Executory
                       Contracts Effective as of the Rejection Date [D.I. 447; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

         16.    Debtors’ Sixteenth Omnibus Motion for Entry of an Order Authorizing the Debtors
                to Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 359;
                9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Sixteenth Omnibus Motion
                       for Entry of an Order Authorizing the Debtors to Reject Certain Executory
                       Contracts Effective as of the Rejection Date [D.I. 448; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

         17.    Debtors’ Seventeenth Omnibus Motion for Entry of an Order Authorizing the
                Debtors to Reject Certain Executory Contracts Effective as of the Rejection Date
                [D.I. 360; 9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Seventeenth Omnibus
                       Motion for Entry of an Order Authorizing the Debtors to Reject Certain
                       Executory Contracts Effective as of the Rejection Date [D.I. 449; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

00060978.1                                        8
               Case 23-10961-BLS        Doc 455       Filed 10/06/23    Page 9 of 11




         18.    Debtors’ Eighteenth Omnibus Motion for Entry of an Order Authorizing the
                Debtors to Reject Certain Executory Contracts Effective as of the Rejection Date
                [D.I. 361; 9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Eighteenth Omnibus
                       Motion for Entry of an Order Authorizing the Debtors to Reject Certain
                       Executory Contracts Effective as of the Rejection Date [D.I. 450; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

         19.    Debtors’ Nineteenth Omnibus Motion for Entry of an Order Authorizing the
                Debtors to Reject Certain Executory Contracts Effective as of the Rejection Date
                [D.I. 362; 9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Nineteenth Omnibus
                       Motion for Entry of an Order Authorizing the Debtors to Reject Certain
                       Executory Contracts Effective as of the Rejection Date [D.I. 451; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

         20.    Debtors’ Twentieth Omnibus Motion for Entry of an Order Authorizing the Debtors
                to Reject Certain Executory Contracts Effective as of the Rejection Date [D.I. 364;
                9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Twentieth Omnibus
                       Motion for Entry of an Order Authorizing the Debtors to Reject Certain
                       Executory Contracts Effective as of the Rejection Date [D.I. 452; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

00060978.1                                        9
               Case 23-10961-BLS        Doc 455       Filed 10/06/23    Page 10 of 11




         21.    Debtors’ Twenty-First Omnibus Motion for Entry of an Order Authorizing the
                Debtors to Reject Certain Executory Contracts Effective as of the Rejection Date
                [D.I. 365; 9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                A.     Certificate of No Objection Regarding Debtors’ Twenty-First Omnibus
                       Motion for Entry of an Order Authorizing the Debtors to Reject Certain
                       Executory Contracts Effective as of the Rejection Date [D.I. 453; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.

         22.    Debtors’ Twenty-Second Omnibus Motion for Entry of an Order Authorizing the
                Debtors to Reject Certain Executory Contracts Effective as of the Rejection Date
                [D.I. 366; 9/18/23].

                Objection Deadline: October 4, 2023, at 4:00 p.m. (ET).

                Related Pleadings:

                           A. Certificate of No Objection Regarding Debtors’ Twenty-Second
                              Omnibus Motion for Entry of an Order Authorizing the Debtors to
                              Reject Certain Executory Contracts Effective as of the Rejection
                              Date [D.I. 454; 10/5/23].

                Objections Received: None.

                Status: A certificate of no objection has been filed.




00060978.1                                       10
             Case 23-10961-BLS   Doc 455     Filed 10/06/23    Page 11 of 11




 Dated: October 6, 2023              CHIPMAN BROWN CICERO & COLE, LLP
 Wilmington, Delaware
                                      /s/ Mark L. Desgrosseilliers
                                     Mark L. Desgrosseilliers (No. 4083)
                                     Hercules Plaza
                                     1313 North Market Street, Suite 5400
                                     Wilmington, Delaware 19801
                                     Telephone: (302) 295-0192
                                     desgross@chipmanbrown.com

                                     -and-

                                     Sean A. Gordon (admitted pro hac vice)
                                     Austin B. Alexander (admitted pro hac vice)
                                     THOMPSON HINE LLP
                                     Two Alliance Center
                                     3560 Lenox Road NE, Suite 1600
                                     Atlanta, Georgia 30326-4266
                                     Telephone: (404) 541-2900
                                     Facsimile: (404) 541-2905
                                     Sean.Gordon@thompsonhine.com
                                     Austin.Alexander@thompsonhine.com

                                     Alan R. Lepene (admitted pro hac vice)
                                     Scott B. Lepene (admitted pro hac vice)
                                     THOMPSON HINE LLP
                                     3900 Key Center
                                     127 Public Square
                                     Cleveland, Ohio 44114-1291
                                     Telephone: (216) 566-5500
                                     Facsimile: (216) 566-5800
                                     Alan.Lepene@thompsonhine.com
                                     Scott.Lepene@thompsonhine.com

                                     Counsel for the Debtors




00060978.1                              11
